         Case 4:22-cv-00122-O Document 41 Filed 05/24/22           Page 1 of 2 PageID 360



                              UNITED STATES DISTRICT COURT
                               NORTHERN DISTRICT OF TEXAS
                                  FORT WORTH DIVISION

    ELIZABETH VAN DUYNE and                      §
    THE STATE OF TEXAS,                          §
                                                 §
             Plaintiffs,                         §
                                                 §
    v.                                           §   Civil Action No. 4:22-cv-00122-O
                                                 §
    CENTERS FOR DISEASE CONTROL                  §
    AND PREVENTION., et al.,                     §
                                                 §
             Defendants.                         §

                                             ORDER
            On April 13, 2022, the Transportation Security Agency (“TSA”) extended the public

transportation mask mandate through May 3, 2022.1 On April 18, 2022, a United States District

Judge for the Middle District of Florida issued an opinion vacating the mask mandate at issue in

this case. See Health Freedom Defense Fund, Inc. v. Biden, ECF No. 53, No. 8:21-cv-1693 (M.D.

Fla. April 18, 2022). The Government appealed the decision. See Health Freedom Defense Fund,

Inc. v. Biden, No. 22-11287 (11th Cir., Apr. 21, 2022). TSA has not renewed the mask mandate,

which has since expired. The Court ordered the parties to brief mootness, standing, and irreparable

harm. Plaintiffs concede that “TSA is not enforcing the CDC’s Mask Mandate today.” Pls.’ Resp.

to Defs.’ Cross-Brief 2, ECF No. 40. Having considered the motion, briefing, and applicable law,

the Court STAYS proceedings in this case and HOLDS the pending preliminary injunction motion

in abeyance pending resolution of the appeal in Health Freedom. The Court DIRECTS the Clerk

of Court to terminate all pending motions and close the case. Finally, the Court ORDERS the



1
 See TSA, TSA extends face mask requirement through May 3, 2022 (Apr. 13, 2022),
https://www.tsa.gov/news/press/statements/2022/04/13/tsa-extends-face-mask-requirement-
through-may-3-2022.


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   Case 4:22-cv-00122-O Document 41 Filed 05/24/22                     Page 2 of 2 PageID 361



parties to file a joint status report within five days of the Eleventh Circuit’s resolution of the Health

Freedom appeal indicating their positions on the opinion and proposing a schedule for resolution

of this case. At that time, the parties may move to reopen the case if they so choose, and Plaintiffs

may renew their request for a preliminary injunction.

        SO ORDERED on this 24th day of May, 2022.


                                                         _____________________________________
                                                         Reed O’Connor
                                                         UNITED STATES DISTRICT JUDGE




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